             Case
              Case22-90168
                   22-90168 Document
                             Document515-1 FiledinonTXSB
                                      570 Filed      10/11/22 in TXSB Page
                                                          on 10/21/22 Page11of
                                                                             of88
                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                          October 21, 2022
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                    )   Chapter 11
    In re:                                                          )
                                                                    )   Case No. 22-90168 (MI)
    CINEWORLD GROUP PLC, et al., 1                                  )
                                                                    )   (Jointly Administered)
                                      Debtors.                      )
                                                                    )   Re: Docket No. 26

                                ORDER (I) AUTHORIZING
                    (A) REJECTION OF CERTAIN UNEXPIRED LEASES OF
                NON-RESIDENTIAL REAL PROPERTY AND (B) ABANDONMENT
               OF CERTAIN PERSONAL PROPERTY, IF ANY, EACH EFFECTIVE
             AS OF THE REJECTION DATE, AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the Debtors to

(i) reject certain Leases listed on Schedule 1 to this Order and (ii) abandon certain Personal

Property that may be located at the Premises, each effective as of the Rejection Date (as defined

below), and (b) granting related relief, all as more fully set forth in the Motion; and upon the First

Day Declarations; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334;

and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b); and this

Court having found that venue of this proceeding and the Motion in this district is proper pursuant

to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.ra.kroll.com/cineworld. The location of Debtor Cineworld
      Group plc’s principal place of business and the Debtors’ service address in these chapter 11 cases is: 8th Floor
      Vantage London, Great West Road, Brentford, England, TW8 9AG, United Kingdom.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
      Case
       Case22-90168
            22-90168 Document
                      Document515-1 FiledinonTXSB
                               570 Filed      10/11/22 in TXSB Page
                                                   on 10/21/22 Page22of
                                                                      of88




Motion were appropriate under the circumstances and no other notice need be provided; and this

Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in support of the Motion establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Leases listed on Schedule 1 attached hereto are rejected under section 365 of

the Bankruptcy Code effective as of the later of (a) the rejection date listed on Schedule 1 and

(b) the date the Debtors relinquish control of the Premises by notifying the affected landlord of the

Debtors’ surrender of the Premises and turning over keys, key codes, and security codes, if any, to

the affected landlord (the “Rejection Date”).

       2.      The Debtors are authorized to abandon any Personal Property located at the

Premises identified on Schedule 1 attached hereto free and clear of all liens, claims,

encumbrances, interests, and rights of the Debtors and third parties. The applicable counterparty

to each Lease may keep and/or dispose of such Personal Property in its sole and absolute discretion

without further notice or liability to any party holding any liens, claims, encumbrances, interests,

and rights in such abandoned Personal Property. The automatic stay, to the extent applicable, is

modified to allow for such utilization or disposition.

       3.      Notwithstanding the relief granted herein and any actions taken pursuant to such

relief, nothing in this Order shall be deemed: (a) an admission as to the amount of, basis for, or

validity of any claim against a Debtor entity under the Bankruptcy Code or other applicable

nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to dispute

any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or




                                                  2
      Case
       Case22-90168
            22-90168 Document
                      Document515-1 FiledinonTXSB
                               570 Filed      10/11/22 in TXSB Page
                                                   on 10/21/22 Page33of
                                                                      of88




admission that any particular claim is of a type specified or defined in the Motion or any order

granting the relief requested by the Motion or a finding that any particular claim is an

administrative expense claim or other priority claim; (e) other than as set forth herein and on

Schedule 1 attached hereto, a request or authorization to assume, adopt, or reject any agreement,

contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the

validity, priority, enforceability, or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtors’ estates; (g) other than as set forth herein, a waiver or

limitation of the Debtors’, or any other party in interest’s, rights under the Bankruptcy Code or

any other applicable law; or (h) a concession by the Debtors that any liens (contractual, common

law, statutory, or otherwise) that may be satisfied pursuant to the relief requested in the Motion

are valid, and the rights of all parties in interest are expressly reserved to contest the extent,

validity, or perfection or seek avoidance of all such liens.

       4.      Notice of the Motion as set forth therein shall be deemed good and sufficient notice

of such Motion and the requirements of the Bankruptcy Rules and the Bankruptcy Local Rules are

satisfied by such notice.

       5.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


 Dated: October
Signed: ___________,
        October 21,   2022
                17, 2022
                    2018

                                                      UNITED STATES BANKRUPTCY JUDGE
                                                       ____________________________________
                                                                     Marvin Isgur
                                                           United States Bankruptcy Judge




                                                  3
                                       Case 22-90168 Document 570 Filed in TXSB on 10/21/22 Page 4 of 8




                                                                                 Schedule 1

                                                                         Leases to Be Rejected 1

                                                                       Debtor               Counterparty           Counterparty                                    Rejection
Theatre ID       Theatre Name            Theatre Address                                                                               Contract Description
                                                                     Counterparty              Name                  Address                                         Date
                                                                                                                                      Lease Agreement between
                                                                                                                                      Park Meadows Business
                                     UA Amarillo Star                                                                                 Trust, a Delaware
              Amarillo Star          Stadium 14 IMAX &           UNITED ARTISTS                                 8563 Higuera Street   business trust, as
                                                                                          Park Meadows
  1327        Stadium 14 IMAX        RPX                         THEATRE                                        Culver City CA        Landlord and United          9/22/2022
                                                                                          Amarillo LLC
              & RPX                  8275 Amarillo Blvd West     CIRCUIT, INC.                                  90232                 Artists Theatre Circuit,
                                     Amarillo, TX 79124                                                                               Inc., a Maryland
                                                                                                                                      Corporation, as Tenant
                                                                                                                                      dated as of 12/15/1997
                                                                                                                3501 Jamboree Road,
                                     Regal Edwards Anaheim                                                      Suite 300 South
                                                                                                                                      Amended and Restated
                                     Hills                                                                      Tower
                                                                                                                                      Lease by and between
                                     Anaheim Hills Festival      EDWARD                                         Newport Beach, CA
  1003        Anaheim Hills 14                                                            OTR                                         OTR and Edwards              9/22/2022
                                     8030 E. Santa Ana           THEATRES, INC.                                 92660
                                                                                                                                      Theatres Circuit, Inc.
                                     Canyon Rd.                                                                 Attn: Donahue-
                                                                                                                                      dated as of 02/27/1998
                                     Anaheim Hills, CA 92808                                                    Schriber, Lease
                                                                                                                Administration
                                                                                                                c/o The Retain
                                                                                                                Connection            Memorandum of Lease by
                                     Regal Arbor 8 @ Great
                                                                                                                221 W. 6th Street,    and Between Schmidt
              Arbor 8 @ Great        Hills                       REGAL CINEMAS,           Great Hills Retail,
   661                                                                                                          Suite 1030            Investments, LTD and         9/30/2022
              Hills                  9828 Great Hills Trail      INC.                     Inc.
                                                                                                                Austin, TX 78701      Regal Cinemas, Inc. dated
                                     Austin, TX 78759
                                                                                                                Attn: Ms. Cheryl      as of 01/23/2003
                                                                                                                Ruff
                                     Regal Brass Mill Stadium                                                   c/o General Growth
                                                                                                                                      Lease between GGP-
                                     12                                                                         Properties, Inc.
              Brass Mill Stadium                                 REGAL CINEMAS,           Brass Mill Center                           Brass Mill, Inc. and Regal
  1906                               495 Union Street                                                           110 North Wacker                                   9/30/2022
              12                                                 INC.                     Mall, LLC                                   Cinemas, Inc. dated as of
                                     Waterbury, CT 06706-                                                       Drive
                                                                                                                                      02/09/2005
                                     1292                                                                       Chicago, IL 60606


         1   For the avoidance of doubt, the Leases referenced herein include any amendments or modifications thereto.
                                     Case 22-90168 Document 570 Filed in TXSB on 10/21/22 Page 5 of 8




                                                                  Debtor                   Counterparty          Counterparty                                     Rejection
Theatre ID     Theatre Name           Theatre Address                                                                                  Contract Description
                                                                Counterparty                  Name                 Address                                          Date
                                                                                                              c/o Brixmor Property
                                                                                                              Group
                                                                                         Brixmor Property                            Lease between Spieker
                                                                                                              450 Lexington
                                   UA Broadway Faire                                     Group Inc. (aka                             Properties, L.P. and
             Broadway Faire                                  United Artist Theatre                            Avenue, Floor 13
  1284                             3351 W. Shaw Ave.                                     Brixmor                                     United Artists Theatre       9/22/2022
             Stadium 10                                      Circuit, Inc.                                    New York, NY
                                   Fresno, CA 93711                                      Broadway Faire,                             Circuit, Inc. dated as of
                                                                                                              10017
                                                                                         LP)                                         11/04/1994
                                                                                                              Attention: General
                                                                                                              Counsel
                                                                                                                                     Retail Center Ground
                                                                                                                                     Lease by and between
                                                                                                              c/o Caruso
                                   Edwards Calabasas                                                                                 Century Investments, Inc.
                                                                                                              Management
                                   Stadium 6                 EDWARD                      The Commons at                              and CRM Properties, Inc.
  1036       Calabasas Stadium 6                                                                              100 Wilshire Blvd                                   9/30/2022
                                   4767 Commons Way          THEATRES, INC.              Calabasas, LLC                              and Edwards Theatres
                                                                                                              Santa Monica, CA
                                   Calabasas, CA 91302                                                                               Circuit, Inc. and Edwards
                                                                                                              90401
                                                                                                                                     Megaplex Holdings, LLC
                                                                                                                                     dated as of 12/19/1997

                                                                                         Regal I, LLC                                Ground Lease (Las
                                   Regal Colonnade Stadium
                                                                                         (successor in        1370 Jet Stream        Vegas/Pebble) by Pebble
             Colonnade Stadium     14                        EASTGATE
   840                                                                                   interest to Pebble   Drive, Suite 100       Commercial Center, LLC       9/30/2022
             14                    8880 South Eastern Ave    THEATRE, INC.
                                                                                         Commercial           Henderson, NV          and Eastgate Theatre, Inc.
                                   Las Vegas, NV 89123
                                                                                         Center, LLC)                                dated as of 11/05/1997

                                                                                                                                     Lease between OAC
                                                                                                                                     Group, a California
                                   Regal Crow Canyon
                                                                                                              General Counsel        general Partnership
                                   Stadium 6
             Crow Canyon                                     REGAL CINEMAS,                                   1556 Parkside Drive    (“Landlord”) and
  1809                             2525 San Ramon Valley                                 BDC Sonora L.P.                                                          9/22/2022
             Stadium 6                                       INC.                                             Walnut Creek, CA       Signature Theatres, LLC,
                                   Blvd
                                                                                                              94596                  a Limited Liability
                                   San Ramon, CA 94583
                                                                                                                                     Company (“Tenant”)
                                                                                                                                     dated as of 06/05/2001




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                                   Case 22-90168 Document 570 Filed in TXSB on 10/21/22 Page 6 of 8




                                                                Debtor            Counterparty         Counterparty                                  Rejection
Theatre ID     Theatre Name          Theatre Address                                                                       Contract Description
                                                              Counterparty           Name                Address                                       Date
                                                                                                                          Lease between OAC
                                                                                                                          Group, a California
                                 Regal Crow Canyon
                                                                                                    General Counsel       general Partnership
                                 Stadium 6                                       J&M Karsant
             Crow Canyon                                    REGAL CINEMAS,                          1556 Parkside Drive   (“Landlord”) and
  1809                           2525 San Ramon Valley                           Family Limited                                                      9/22/2022
             Stadium 6                                      INC.                                    Walnut Creek, CA      Signature Theatres, LLC,
                                 Blvd                                            Partnership
                                                                                                    94596                 a Limited Liability
                                 San Ramon, CA 94583
                                                                                                                          Company (“Tenant”)
                                                                                                                          dated as of 06/05/2001
                                                                                                    c/o The RMR Group
                                                                                                    LLC                   Lease Agreement by and
                                 Regal Gravois Bluffs                            SVCN 5 LLC
                                                                                                    Two Newton Place      Between McIntosh
             Gravois Bluffs      Stadium 12                 REGAL CINEMAS,       formerly known
  1510                                                                                              255 Washington        Theatre Holdings, LLC      9/30/2022
             Stadium 12          754 Gravois Bluffs Blvd.   INC.                 as Spirit Master
                                                                                                    Street, Suite 300     and Regal Cinemas, Inc.
                                 Fenton, MO 63026                                Funding IX, LLC
                                                                                                    Newton, MA 02458      dated as of 11/29/2012
                                                                                                    Attn: Yael E. Duffy
                                                                                                                          Fundamental Lease
                                 Regal Greenville Grande
                                                                                                                          Provisions by G. Center,
                                 Stadium 14                                                         111 Princess Street
             Greenville Grande                              REGAL CINEMAS,                                                A Limited Partnership
  1880                           750 SW Greenville                               ZP NO. 169, LLC    Wilmington, North                                9/22/2022
             Stadium 14                                     INC.                                                          and Greenville Cinema,
                                 Boulevard                                                          Carolina 28401
                                                                                                                          L.L.C. dated as of
                                 Greenville, NC 27834
                                                                                                                          01/31/2006
                                                                                                                          Lease Middleburg Towne
                                                                                                    c/o Carnegie
                                                                                                                          Square Limited
                                                                                                    Management and
                                                                                                                          Partnership (an Ohio
                                 Regal Middleburg Town                           Middleburg         Development Corp.
                                                                                                                          Limited Partnership)
             Middleburg Town     Square Stadium 16          REGAL CINEMAS,       Towne Square       27500 Detroit Road,
   231                                                                                                                    (“Landlord”) and Regal     9/22/2022
             Square Stadium 16   18348 Bagley Road          INC.                 Limited            Suite 300
                                                                                                                          Cinemas, Inc. (a
                                 Cleveland, OH 44130                             Partnership        Westlake, OH 44145
                                                                                                                          Tennessee Corporation)
                                                                                                    Attn: Rustom R.
                                                                                                                          (“Tenant”) dated as of
                                                                                                    Khouri
                                                                                                                          04/06/1995




                                                                             3
                                   Case 22-90168 Document 570 Filed in TXSB on 10/21/22 Page 7 of 8




                                                               Debtor             Counterparty         Counterparty                                   Rejection
Theatre ID     Theatre Name          Theatre Address                                                                       Contract Description
                                                             Counterparty            Name                Address                                        Date
                                                                                                                          Ground Lease by and
                                                                                                                          between MBK Northwest,
                                                                                                                          a Washington limited
                                 Regal Parkway Plaza
                                                                                                    1276 N 15th Ave.,     partnership as Lessor and
             Parkway Plaza       Stadium 12                EASTGATE             Levine &
   783                                                                                              Ste 103A              Eastgate Theatre, Inc. an   9/22/2022
             Stadium 12          5910 South 180th Street   THEATRE, INC.        Company, LLC
                                                                                                    Bozeman, MT 59715     Oregon corporation dba
                                 Tukwila, WA 98188
                                                                                                                          “Act III Theatres, as
                                                                                                                          Lessee dated as of
                                                                                                                          02/25/1998
                                                                                                                          Ground Lease by and
                                                                                                                          between MBK Northwest,
                                                                                                    100 North Main
                                                                                                                          a Washington limited
                                 Regal Parkway Plaza                                                Street
                                                                                                                          partnership as Lessor and
             Parkway Plaza       Stadium 12                EASTGATE             Sisel Properties,   11th Floor
   783                                                                                                                    Eastgate Theatre, Inc. an   9/22/2022
             Stadium 12          5910 South 180th Street   THEATRE, INC.        LLC                 D4001-114
                                                                                                                          Oregon corporation dba
                                 Tukwila, WA 98188                                                  Winston Salem NC
                                                                                                                          “Act III Theatres, as
                                                                                                    27101
                                                                                                                          Lessee dated as of
                                                                                                                          02/25/1998
                                                                                                                          Ground Lease by and
                                                                                                                          between MBK Northwest,
                                                                                                    c/o IDI Logistics
                                                                                                                          a Washington limited
                                 Regal Parkway Plaza                                                1197 Peachtree St.,
                                                                                                                          partnership as Lessor and
             Parkway Plaza       Stadium 12                EASTGATE             IDIL 180            Suite 600
   783                                                                                                                    Eastgate Theatre, Inc. an   9/22/2022
             Stadium 12          5910 South 180th Street   THEATRE, INC.        Tukwila, LLC        Atlanta, GA 30361
                                                                                                                          Oregon corporation dba
                                 Tukwila, WA 98188                                                  Attn: General
                                                                                                                          “Act III Theatres, as
                                                                                                    Counsel
                                                                                                                          Lessee dated as of
                                                                                                                          02/25/1998
                                                                                                    c/o Wolfson Group,
                                                                                                    Inc.                  Ground Lease Agreement
                                 Regal Richland Crossing                                            621 Commons           between 309 Venture
             Richland Crossing   Stadium 12                REGAL CINEMAS,       309 Venture         631 East              Partners, as Landlord and
   377                                                                                                                                                9/22/2022
             Stadium 12          185 North West End Blvd   INC.                 Partners            Germantown Pike,      Magic Cinemas, LLC as
                                 Quakertown, PA 18951                                               Suite 305             Tenant dated as of
                                                                                                    Norristown, PA        09/27/1996
                                                                                                    19401



                                                                            4
                                  Case 22-90168 Document 570 Filed in TXSB on 10/21/22 Page 8 of 8




                                                              Debtor                 Counterparty         Counterparty                                     Rejection
Theatre ID     Theatre Name        Theatre Address                                                                             Contract Description
                                                            Counterparty                Name                Address                                          Date
                                                                                                                              Cinema Lease by Ramco
                                                                                                       Ramco Jacksonville     Jacksonville LLC, a
                                River City Marketplace                                                 LLC                    Michigan limited liability
             River City                                  Hollywood Theaters,
                                Stadium 14                                         Ramco               31500 Northwestern     company (“Landlord”)
  1612       Marketplace                                 Inc. d/b/a Regal                                                                                  9/7/2022
                                12884 City Center Blvd                             Jacksonville LLC    Highway, Suite 300     and Hollywood Theaters,
             Stadium 14                                  Cinemas
                                Jacksonville, FL 32218                                                 Farmington Hills, MI   Inc., a Delaware
                                                                                                       48334                  corporation (“Tenant”)
                                                                                                                              dated as of 03/31/2005
                                Regal Sherwood Stadium                                                                        Ground Lease (Sherwood)
                                                                                                       c/o NAI Elliot
                                10                                                                                            by Juniper Ridge
             Sherwood Stadium                            EASTGATE                                      901 NE Glisan St,
   815                          15995 SW Tualatin                                  LAF, LLC                                   Investments, LLC and         9/30/2022
             10                                          THEATRE, INC.                                 Suite 200
                                Sherwood Road                                                                                 Eastgate Theatre, Inc.
                                                                                                       Portland, OR 97232
                                Sherwood, OR 97140                                                                            dated as of 02/11/1997
                                Regal Sherwood Stadium                                                                        Ground Lease (Sherwood)
                                                                                                       c/o NAI Elliot
                                10                                                                                            by Juniper Ridge
             Sherwood Stadium                            EASTGATE                                      901 NE Glisan St,
   815                          15995 SW Tualatin                                  Tacke LLC                                  Investments, LLC and         9/30/2022
             10                                          THEATRE, INC.                                 Suite 200
                                Sherwood Road                                                                                 Eastgate Theatre, Inc.
                                                                                                       Portland, OR 97232
                                Sherwood, OR 97140                                                                            dated as of 02/11/1997
                                                                                                       c/o Pacific Retail     Lease between West Oaks
                                                                                                       Partners               Owner LLC, as Landlord
                                Edwards West Oaks Mall
                                                                                                       222 N. Sepulveda       and Regal Cinemas, Inc.
             West Oaks Mall     Stadium 14 & RPX         REGAL CINEMAS,            West Oaks Owner
  1796                                                                                                 Boulevard              as Tenant at West Oaks       9/30/2022
             Stadium 14 & RPX   700 West Oaks Mall       INC.                      LLC
                                                                                                       Suite 2350             Mall Houston Harris
                                Houston, TX 77082-1742
                                                                                                       El Segundo, CA         County Texas dated as of
                                                                                                       90245                  02/21/2011
                                                                                                                              Retail Ground Lease by
                                                                                   The Irvine          550 Newport Center     and between Irvine Retail
                                Edwards Westpark 8
                                                         EDWARD                    Company LLC         Drive, Suite 190       Properties Company and
  1005       Westpark 8         3735 Alton Parkway                                                                                                         9/22/2022
                                                         THEATRES, INC.            (f/k/a The Irvine   Newport Beach, CA      Edwards Theatres Circuit,
                                Irvine, CA 92606-8293
                                                                                   Company)            92660                  Inc. dated as of
                                                                                                                              02/02/1994




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